Case 1:21-cv-02587-AS-SLC Document 30-2 Filed 07/26/21 Page 1of1

Supreme Court of California

JORGE E. NAVARRETE
Clerk and Executive Officer of the Supreme Court

CERTIFICATE OF THE CLERK OF THE SUPREME COURT

OF THE

STATE OF CALIFORNIA

SAM F. CATE-GUMPERT

I, JORGE E. NAVARRETE, Clerk/Executive Officer of the Supreme Court of the State of
California, do hereby certify SAM F. CATE-GUMPERT #335715, was on the 28" day of
January, 2021 duly admitted to practice as an attorney and counselor at law in all the
courts of this state, and is now listed on the Roll of Attorneys as a member of the bar of this
state in good standing.

Witness my hand and the seal of the court
on this day of June 21%, 2021,

JORGE E. NAVARRETE
Clerk/Executive Officer of the Supreme Court

By: = C

Florentino Jimenez, Assistant Deputy Clerk

J

ee

